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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION


JOSEPH WEINMAN, Individually and on                                           PLAINTIFFS
Behalf of All Others Similarly Situated


vs.                                No. 4:22-cv-857-DPM


SPECTRUM PAINT COMPANY, INC.                                                 DEFENDANT


                      NOTICE OF APPEARANCE—SEAN SHORT


       Attorney Sean Short of Sanford Law Firm, PLLC, does hereby enter his

appearance on behalf of Plaintiffs. Mr. Short certifies that he is a member in good standing

of the Bar of the Eastern District of Arkansas and is a registered CM/ECF filer. Mr. Short

will serve as counsel along with Plaintiffs’ other attorneys.

                                                   Respectfully submitted,

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